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                                  #:119838
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 3 of 124 Page ID
                                  #:119839
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 4 of 124 Page ID
                                  #:119840
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 5 of 124 Page ID
                                  #:119841
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 6 of 124 Page ID
                                  #:119842
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 7 of 124 Page ID
                                  #:119843
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 8 of 124 Page ID
                                  #:119844
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 9 of 124 Page ID
                                  #:119845
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 10 of 124 Page ID
                                  #:119846
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 11 of 124 Page ID
                                  #:119847
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 12 of 124 Page ID
                                  #:119848
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 13 of 124 Page ID
                                  #:119849
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 14 of 124 Page ID
                                  #:119850
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 15 of 124 Page ID
                                  #:119851
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 16 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 17 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 18 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 19 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 20 of 124 Page ID
                                  #:119856
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 21 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 22 of 124 Page ID
                                  #:119858
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 23 of 124 Page ID
                                  #:119859
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 24 of 124 Page ID
                                  #:119860
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 25 of 124 Page ID
                                  #:119861
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 26 of 124 Page ID
                                  #:119862
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 27 of 124 Page ID
                                  #:119863
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 28 of 124 Page ID
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                                  #:119865
Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 30 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 35 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 36 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 37 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 39 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 47 of 124 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-10 Filed 10/20/08 Page 110 of 124 Page
                                ID #:119946
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